            Case 2:19-cv-00186-MJH Document 33 Filed 02/03/20 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA
                                  PITTSBURGH DIVISION

 TONIE CHRISTY, each individually and on Case No: 2:19-cv-00186-MJH
 behalf of all others similarly situated,

 v.
                                                    Judge Marilyn J. Horan
 TDT CONSULTING, LLC




           STIPULATED ORDER REQUESTING AN EXTENSION REGARDING
                            SETTLEMENT AND DISMISSAL PAPERS


       Defendant TDT Consulting, LLC and Plaintiff Tonie Christy, the Parties in the above-styled cause,

jointly file this stipulated order requesting an extension regarding settlement and dismissal papers. The

Parties have reached a settlement agreement and are pending final execution by their clients. The Parties

jointly request a 7-day extension to file dismissal paperwork in order to execute the agreement.

       This matter having come before the Court pursuant to the stipulation of the parties, through their

undersigned counsel, and the Court being otherwise fully advised in the premises:

       IT IS HEREBY ORDERED that the Parties are granted a 7-day extension to February 7, 2020, to

file dismissal paperwork.



IT IS SO ORDERED.

        February 1, 2020
Dated:__________________________                               _________________________________
                                                               MARILYN J. HORAN
                                                               U.S. DISTRICT JUDGE
